 1   Mark J. Geragos (SBN 108325)
     Tina Glandian (SBN 251614)
 2   Setara Qassim (SBN 283552)
     GERAGOS & GERAGOS APC
 3   644 South Figueroa Street
     Los Angeles, CA 90017-3411
 4   Telephone: (213) 625-3900
     Facsimile: (213) 232-3255
 5
     Angela M. Machala (SBN: 224496)
 6   AMachala@winston.com
     WINSTON & STRAWNthLLP
 7   333 S. Grand Avenue, 38 Fl.
     Los Angeles, CA 90071-1543
 8   Telephone: (213) 615-1700
     Facsimile: (213) 615-1750
 9
     Abbe David Lowell (admitted pro hac vice)
10   AbbeLowellPublicOutreach@winston.com
     Christopher D. Man
11   CMan@winston.com
     WINSTON & STRAWN LLP
12   1901 L Street NW
     Washington, DC 20036-3508
13   Telephone: (202) 282-5000
     Facsimile: (202) 282-5100
14
     Attorneys for Robert Hunter Biden
15
16                        UNITED STATES DISTRICT COURT
17                       CENTRAL DISTRICT OF CALIFORNIA
18   UNITED STATES                               Case No. 2:23-CR-00599-MCS-1
19                      Plaintiff,               Hon. Mark C. Scarsi
20          v.                                   DEFENDANT’S NOTICE OF
21   ROBERT HUNTER BIDEN,                        MOTION AND AMENDED
                                                 MOTION TO DISMISS FOR LACK
22                      Defendant.               OF JURISDICTION
23                                                Hearing Date: August 5, 2024
                                                  Time: 3:00 p.m.
24                                                Place: Courtroom 7C
25
26
27
28

      DEFENDANT’S NOTICE OF MOTION AND AMENDED MOTION TO DISMISS FOR LACK OF JURISDICTION
                                 CASE NO. 2:23-CR-00599-MCS-1
 1                         NOTICE OF MOTION AND MOTION
 2   TO: SPECIAL COUNSEL DAVID WEISS, PRINCIPAL SENIOR ASSISTANT
 3   SPECIAL COUNSEL LEO J. WISE, SENIOR ASSISTANT SPECIAL COUNSEL
 4   DEREK E. HINES
 5         PLEASE TAKE NOTICE that on August 5, 2024, at 3:00 p.m., or as soon
 6   thereafter as the matter may be heard, in the courtroom of the Honorable Mark C. Scarsi,
 7   Defendant Robert Hunter Biden, by and through his attorneys of record, will, and
 8   hereby does, respectfully move this Court for an order dismissing the indictment
 9   pursuant to Rule 12(b) of the Federal Rules of Criminal Procedure for lack of
10   jurisdiction and a defect in instituting the prosecution because of the unlawful
11   appointment of Special Counsel David Weiss in violation of the Appointments Clause
12   and the Appropriations Clause. To the extent the Court has already considered and
13   ruled on related matters, the Court should reconsider its previous April 1, 2024 decision
14   (D.E.67) to correct clear errors of law and prevent manifest injustice to Mr. Biden.
15         This motion is made and based upon the attached Memorandum of Points and
16   Authorities, the Declaration of Mark Geragos and its exhibits, the pleadings, papers,
17   and documents on file with the Court, the oral arguments of counsel, and such other
18   matters as the Court may deem proper to consider.
19
20   Date: July 28, 2024                     Respectfully submitted,
21
22                                           /s/ Mark J. Geragos
                                             Mark J. Geragos (SBN 108325)
23                                           Tina Glandian (SBN 251614)
24                                           Setara Qassim (SBN 283552)
                                             GERAGOS & GERAGOS APC
25                                           644 South Figueroa Street
26                                           Los Angeles, CA 90017-3411
                                             Telephone: (213) 625-3900
27                                           Facsimile: (213) 232-3255
28

      DEFENDANT’S NOTICE OF MOTION AND AMENDED MOTION TO DISMISS FOR LACK OF JURISDICTION
                                 CASE NO. 2:23-CR-00599-MCS-1
 1                                         /s/ Angela M. Machala
 2                                         Angela M. Machala (SBN: 224496)
                                           AMachala@winston.com
 3                                         WINSTON & STRAWN LLP
 4                                         333 S. Grand Avenue, 38th Fl.
                                           Los Angeles, CA 90071-1543
 5                                         Telephone: (213) 615-1700
 6                                         Facsimile: (213) 615-1750

 7                                         Abbe David Lowell (admitted pro hac vice)
 8                                         AbbeLowellPublicOutreach@winston.com
                                           Christopher D. Man
 9                                         CMan@winston.com
10                                         WINSTON & STRAWN LLP
                                           1901 L Street NW
11                                         Washington, DC 20036
12                                         Telephone: (202) 282-5000
                                           Facsimile: (202) 282-5100
13
14                                         Attorneys for Robert Hunter Biden

15
16
17
18
19
20
21
22
23
24
25
26
27
28

     DEFENDANT’S NOTICE OF MOTION AND AMENDED MOTION TO DISMISS FOR LACK OF JURISDICTION
                                CASE NO. 2:23-CR-00599-MCS-1
 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2                                      INTRODUCTION
 3            This prosecution (and another in Delaware) did not occur until after
 4   unprecedented political pressure was brought to forego an agreed-upon resolution of a
 5   four-year investigation. Following the same outside criticism and after the U.S.
 6   Attorney in this District declined to indict Hunter Biden, David Weiss sought and
 7   obtained an appointment as Special Counsel, pursuant to which he brought this
 8   indictment. Mr. Biden brings this motion for lack of jurisdiction to challenge as
 9   unconstitutional the appointment and subsequent unlawful funding of these cases.
10            Mr. Biden previously moved to dismiss the indictment because the Special
11   Counsel was improperly appointed in violation of a Department of Justice regulation
12   and because he relied upon an appropriation that did not apply to the Special Counsel,
13   but the motion he brings now is slightly different and builds on recent legal
14   developments.1 On July 1, 2024, in Trump v. United States, which concerned former
15   President Trump’s immunity claims with respect to an indictment brought by a different
16   Special Counsel, Justice Thomas filed a concurring opinion raising a more fundamental
17   antecedent question of whether the Special Counsel was validly appointed under the
18   Appropriations Clause. 144 S. Ct. 2312, 2347 (2024). Guided by Justice Thomas’
19   opinion, Judge Cannon dismissed an indictment against Mr. Trump this week because
20   the Special Counsel was unconstitutionally appointed. United States v. Trump, 2024
21   WL 3404555 (S.D. Fla. July 15, 2024). Based on these new legal developments, Mr.
22   Biden moves to dismiss the indictment because the Special Counsel who initiated this
23   prosecution was appointed in violation of the Appointments Clause as well. The
24   Attorney General relied on the exact same authority to appoint the Special Counsel in
25
     1
26     At the May 22, 2024 hearing on Mr. Biden’s ex parte application for a temporary
     restraining order, in addressing “success on the merits,” Your Honor raised that there
27   were no decisions by any other courts on one of the issues being raised. 5/22/2024 Tr.
     9:5-16 (emphasis added). That is no longer the case.
28
                                                 1
         DEFENDANT’S NOTICE OF MOTION AND AMENDED MOTION TO DISMISS FOR LACK OF JURISDICTION
                                    CASE NO. 2:23-CR-00599-MCS-1
 1   both the Trump and Biden matters, and both appointments are invalid for the same
 2   reason. Invalidating the Special Counsel appointment also results in an Appropriations
 3   Clause violation, as there is no appropriation by Congress for this prosecution. Who
 4   the individual is who is the subject of investigation by an improperly appointed Special
 5   Counsel cannot make a difference in applying the law.
 6
                                            ARGUMENT
 7
     I.       THE         SPECIAL            COUNSEL’S             APPOINTMENT               IS
 8
              UNCONSTITUTIONAL               BECAUSE          CONGRESS          HAS       NOT
 9
              ESTABLISHED AN OFFICE OF SPECIAL COUNSEL
10
              The constitutional flaw at the center of the Special Counsel’s appointment is that
11
     Congress has not established the office of a Special Counsel. The Appointments Clause
12
     requires the President nominate and the Senate confirm principal officials of the United
13
     States,2 but the positions of inferior officials “established by Law” may be filled
14
     through appointments by the President or the heads of departments. U.S. Const., art.
15
     II, § 2, cl. 2. While there is an open question as to whether the Special Counsel is a
16
     principal officer who must be nominated by the President and confirmed by the
17
     Senate—which is not how David Weiss was appointed Special Counsel—the Attorney
18
     General’s appointment of the Special Counsel as an inferior official fails as well
19
     because Special Counsel is not a position “established by Law.” “Before the President
20
     or a Department Head can appoint any officer, however, the Constitution requires that
21
22   2
       Judge Cannon reluctantly concluded that the Special Counsel is an inferior officer—
23   having found compelling reasons for why he should be treated as a principal officer—
     because she felt constrained by existing precedent. Trump, 2024 WL 3404555, at *34.
24   Mr. Biden agrees with Judge Cannon that the Supreme Court’s decision in Morrison v.
     Olson, 487 U.S. 654 (1988), upholding the appointment of an Independent Counsel
25   against a similar challenge over Justice Scalia’s powerful dissent has seemingly been
     gutted by subsequent decisions but remains a controlling precedent until it is overruled.
26   Id. at *36 n.54. Mr. Biden calls for Morrison to be overruled and for the indictment to
     be dismissed because Special Counsel Weiss was not appointed in conformance with
27   the nomination and confirmation process. Nevertheless, he appreciates as Judge
     Cannon did that a District Court cannot overrule a decision from the Supreme Court.
28
                                                   2
         DEFENDANT’S NOTICE OF MOTION AND AMENDED MOTION TO DISMISS FOR LACK OF JURISDICTION
                                    CASE NO. 2:23-CR-00599-MCS-1
 1   the underlying office be ‘established by Law.’” Trump, 144 S. Ct. at 2348 (Thomas,
 2   J., concurring). That phrase requires statutory authority. See, e.g., Id; Trump, 2024
 3   WL 3404555, at *8.3 Consequently, the Constitution gives “the President the power to
 4   fill offices (with the Senate’s approval), but not the power to create offices.” Trump,
 5   144 S. Ct. at 2349 (Thomas, J., concurring). “Our Constitution leaves it in the hands
 6   of the people’s elected representatives to determine whether new executive offices
 7   should exist.” Id.
 8            Justice Thomas expressed that he was “not sure that any office for the Special
 9   Counsel has been ‘established by Law,’ as the Constitution requires,” because there is
10   no apparent statutory authority establishing the position. Id. at 2347-48. “By requiring
11   that Congress create federal offices ‘by Law,’” Justice Thomas explained, “the
12   Constitution imposes an important check against the President—he cannot create
13   offices at his pleasure. If there is no law establishing the office that the Special Counsel
14   occupies, then he cannot proceed with this prosecution.” Id. “We cannot ignore the
15   importance that the Constitution places on who creates a federal office. . . . If Congress
16   has not reached a consensus that a particular office should exist, the Executive lacks
17   the power to create and fill an office of his own accord.” Id. at 2350.
18            Congress has established numerous positions in the Department of Justice. As
19   Justice Thomas noted, Congress created “the offices of Attorney General and U. S.
20   Attorney for each district” and “Congress has created several offices within the
21   Department of Justice, including the offices of the Attorney General, Deputy Attorney
22   General, Associate Attorney General, Solicitor General, and Assistant Attorneys
23   General.” Id. at 2349-50. In the past, Congress appointed a “Special Counsel” to
24   investigate the Teapot Dome scandal, and Congress established the now lapsed role of
25   3
       No one seems to contest this principle. Trump, 2024 WL 3404555, at *44 (noting
26   Special Counsel Smith’s agreement). In any event, Special Counsel Weiss
     acknowledges he was not appointed pursuant to the Special Counsel regulations, given
27   that those regulations bar a government insider from being appointed Special Counsel.
     (D.E.36 at 6-7.)
28
                                                  3
         DEFENDANT’S NOTICE OF MOTION AND AMENDED MOTION TO DISMISS FOR LACK OF JURISDICTION
                                    CASE NO. 2:23-CR-00599-MCS-1
 1   the “Independent Counsel” through the Independent Counsel Act.              Id. at 2350.
 2   Congress, however, has not created a position for a Special Counsel that exists today
 3   and that omission is telling and critical. See Brett M. Kavanaugh, The President and
 4   the Independent Counsel, 86 Geo. L.J. 2133, 2136–37 (1998) (urging Congress to enact
 5   “special counsel” legislation to replace the Independent Counsel Act).
 6         Justice Thomas explained: “It is difficult to see how the Special Counsel has an
 7   office ‘established by Law,’ as required by the Constitution. When the Attorney
 8   General appointed the Special Counsel, he did not identify any statute that clearly
 9   creates such an office.” Trump, 144 S. Ct. at 2349 (Thomas, J., concurring). The same
10   is true of the appointment of Special Counsel Weiss.
11         As with the appointment of Special Counsel Jack Smith to investigate President
12   Trump, the Attorney General relied upon the same statutory authority in appointing
13   Special Counsel Weiss to investigate Hunter Biden: 28 U.S.C. §§ 509, 510, 515 and
14   533. Compare A.G. Order No. 5730-2023 (Aug. 11, 2023) (Special Counsel Weiss
15   appointment) with A.G. Order No. 5559-2022 (Nov. 18, 2022) (Special Counsel Smith
16   appointment). But none of these statutes creates an office for a Special Counsel. Justice
17   Thomas and Judge Cannon rejected each of the bases offered by the Attorney General.
18         Given the importance of the constitutional issue, Judge Cannon suggested that a
19   clear statement rule may be warranted. Trump, 2024 WL 3404555, at *9. Mr. Biden
20   believes such a clear statement rule is warranted, requiring Congress to clearly establish
21   an office to be filled. Nevertheless, Judge Cannon did not need to decide the issue
22   because each of the grounds suggested by the Attorney General fails to support his
23   authority to appoint a Special Counsel even under a less rigorous statutory analysis.
24   Mr. Biden agrees with that as well.
25         Looking at the statutory authority cited by the Attorney General, Judge Cannon
26   “conclude[d] that none vests the Attorney General with authority to appoint a Special
27   Counsel like Smith, who does not assist a United States Attorney but who replaces the
28
                                                 4
      DEFENDANT’S NOTICE OF MOTION AND AMENDED MOTION TO DISMISS FOR LACK OF JURISDICTION
                                 CASE NO. 2:23-CR-00599-MCS-1
 1   role of United States Attorney within his jurisdiction.” Trump, 2024 WL 3404555, at
 2   *11. The same is true here, and it undermines the President’s nomination and Senate’s
 3   confirmation of Martin Estrada as U.S. Attorney in this District. In fact, Mr. Estrada
 4   expressly declined to bring or join in the Special Counsel’s prosecution of this case.4 It
 5   turns the Appointments Clause on its head for the Attorney General to circumvent the
 6   person appointed to bring prosecutions in this California district and give that
 7   responsibility instead to a person the President nominated and Senate confirmed to
 8   bring charges only in Delaware. It is inconceivable that this is what Congress intended.
 9            Section 509 addresses only the responsibilities “vested in the Attorney General”
10   with exceptions for certain other DOJ officials and employees, but none address any
11   responsibilities given to a “Special Counsel.” It is of no relevance whatsoever to the
12   Special Counsel. Trump, 144 S. Ct. at 2350 (Thomas, J., concurring); Trump, 2024
13   WL 3404555, at *12.
14            Section 510 is no better. It generically allows the Attorney General to delegate
15   “any function of the Attorney General” to another DOJ employee. Neither provision
16   allows the Attorney General to appoint someone to a new position, such as Special
17   Counsel, it merely allows the delegation of additional authority. Trump, 144 S. Ct. at
18   2350 (Thomas, J., concurring); Trump, 2024 WL 3404555, at *12. This is not the
19   course followed here as U.S. Attorney Weiss did not ask for some delegation of
20   additional authority; he specifically asked to be appointed to a different office
21   altogether – “Special Counsel.” As U.S. Attorney he had years to bring whatever
22   charges he believed were merited, but he brought no indictments until after he received
23   the Special Counsel title that he sought.
24
25
26   4
      Betsy Woodruff Swan, Federal prosecutor to Congress: I didn’t hinder Hunter Biden
27   probe, Politico (10/27/2023), https://www.politico.com/news/2023/10/27/hunter-
     biden-tax-charges-california-00124037 (attached as Ex. A to Geragos Decl.).
28
                                                  5
         DEFENDANT’S NOTICE OF MOTION AND AMENDED MOTION TO DISMISS FOR LACK OF JURISDICTION
                                    CASE NO. 2:23-CR-00599-MCS-1
 1         The type of delegation made here also would conflict with 28 U.S.C. § 541, which
 2   requires the President to nominate and the Senate to confirm appointments as a U.S.
 3   Attorney. If the Attorney General could use Section 510 to appoint a “Special Counsel”
 4   with all the authority and more of a U.S. Attorney on his own, he could circumvent this
 5   process for appointing U.S. Attorneys altogether with no nomination by the President
 6   or confirmation by the Senate. There would be no need for U.S. Attorneys at all.
 7   Likewise, the Attorney General could strip lawfully appointed U.S. Attorneys of their
 8   power and assign them to a person chosen by the Attorney General as “Special
 9   Counsel” instead. A statutory construction that yields absurd results must be rejected.
10         Judge Cannon noted that “the Special Counsel’s powers are arguably broader
11   than a traditional United States Attorney, as he is permitted to exercise his investigatory
12   powers across multiple districts within the same investigation.” Trump, 2024 WL
13   3404555, at *39. That is true of Special Counsel Weiss who brought no indictments in
14   this investigation with his U.S. Attorney position but, as Special Counsel, initiated legal
15   proceedings on both sides of the country against Mr. Biden in Delaware and California,
16   as well as in Nevada and California against Alexander Smirnov. No U.S. Attorney has
17   that power. Given that Congress requires a U.S. Attorney to be nominated by the
18   President and confirmed by the Senate, it makes no sense to assume that Congress
19   would allow the Attorney General to unilaterally appoint someone as Special Counsel
20   with equal or greater power than a U.S. Attorney.
21         In effect, the Attorney General’s view allows him to use Section 510 to engage
22   in a game of bait-and-switch with the President and the Senate. The President and
23   Senate may agree that one person should be nominated for a particular position, but that
24   does not mean that they would agree that the nominee should be confirmed to any
25   position. Nevertheless, in the Attorney General’s view he can use Section 510 to
26   transform the position of an appointed person into a completely different position.
27   Here, the President and the Senate confirmed Mr. Weiss to be the U.S. Attorney for the
28
                                                 6
      DEFENDANT’S NOTICE OF MOTION AND AMENDED MOTION TO DISMISS FOR LACK OF JURISDICTION
                                 CASE NO. 2:23-CR-00599-MCS-1
 1   District of Delaware; neither the President nominated nor the Senate confirmed Mr.
 2   Weiss to a position with all the powers of the Special Counsel. Presumably, under this
 3   view, the Attorney General could assign Mr. Weiss’ authority as U.S. Attorney to
 4   someone else entirely, such that his job would be completely different from the one for
 5   which he was nominated and confirmed. Plainly, that is not what Congress intended.
 6   Section 510 allows for only the delegation of routine functions, not the creation of a
 7   new position with a new title. Again, Mr. Weiss did not seek a delegation of authority
 8   under Section 510; he sought Special Counsel status before bringing any indictments.
 9   And, again, the officer duly nominated and confirmed – the actual U.S. Attorney for
10   the District – took a different course than the Special Counsel in charging Mr. Biden.
11         Section 515 also provides inadequate support for the appointment of a Special
12   Counsel. Rather than create a “Special Counsel” position, Section 515(b) authorizes
13   the Attorney General to designate a “special assistant to the Attorney General or special
14   attorney.” Not only are these titles not “Special Counsel,” Judge Cannon explains they
15   are not even similar positions. “Special Attorneys” assist a U.S. Attorney, but Special
16   Counsel initiate cases on their own free of any involvement by the U.S. Attorney. See
17   28 U.S.C. §§ 519, 543; Trump, 2024 WL 3404555, at *15. Likewise, Judge Cannon
18   found the “special assistant” to have “the same functional meaning” as “special
19   attorney,” except that the subordinate assistance is provided to the Attorney General
20   rather than a U.S. Attorney. Trump, 2024 WL 3404555, at *17 n.24.
21         The Attorney General surely recognizes that the authority delegated to a “Special
22   Counsel” goes far beyond the authority that can be delegated to a “special assistant” or
23   “special attorney,” otherwise he would have given Mr. Weiss one of those titles instead
24   and there likely would have been no need to even create the Special Counsel
25   regulations. The Special Counsel makes the decision as to who to prosecute, not the
26   Attorney General or the U.S. Attorney, so the Special Counsel is not assisting anyone
27   else with their work.
28
                                                7
      DEFENDANT’S NOTICE OF MOTION AND AMENDED MOTION TO DISMISS FOR LACK OF JURISDICTION
                                 CASE NO. 2:23-CR-00599-MCS-1
 1         Section 515(a) is even weaker authority for appointing a “Special Counsel” as it
 2   does not involve appointing anyone to a new position at all. It allows a Department
 3   official, “when specifically directed by the Attorney General, [to] conduct any kind of
 4   legal proceeding,” regardless of the district in which they reside. 28 U.S.C. § 515(a).
 5   But Special Counsel Weiss was not “specifically directed by the Attorney General [to]
 6   conduct any kind of legal proceeding;” rather the whole point of the Special Counsel
 7   appointment was for Special Counsel Weiss to conduct “a full and thorough
 8   investigation” and he “is authorized to prosecute federal crimes in any federal judicial
 9   district arising from the investigation of these matters.” A.G. Order No. 5730-2023
10   (Special Counsel Weiss appointment). The investigation conducted by the Special
11   Counsel is not a legal proceeding and any prosecution the Special Counsel chooses to
12   initiate is based on his decision it is not “specifically directed by the Attorney General.”
13         Reliance upon Section 533 to support authority to appoint a Special Counsel
14   borders on the incredible. To begin, “this provision would be a curious place for
15   Congress to hide the creation of an office for a Special Counsel. It is placed in a chapter
16   concerning the Federal Bureau of Investigation,” rather in the sections dealing with the
17   authority of a U.S. Attorney or Independent Counsel. Trump, 144 S. Ct. at 2351
18   (Thomas, J., concurring). Even the Special Counsel regulations do not cite Section 533
19   as authority for issuing them, and it has only been cited in the appointments of Special
20   Counsel Smith and Weiss, not in the appointment of any prior Special Counsel. Trump,
21   2024 WL 3404555, at *21. In the context of a provision for the FBI, this provision that
22   allows the Attorney General to appoint persons “to detect and prosecute crimes against
23   the United States” cannot be given an “interpretation [that] would shoehorn
24   appointment authority for United States Attorney equivalents into a statute that permits
25   the hiring of FBI law enforcement personnel.” Id. Doing so would be completely
26   inconsistent with the statutory scheme and violate the Appointments Clause and
27   separation of powers. Id. at 26.
28
                                                  8
      DEFENDANT’S NOTICE OF MOTION AND AMENDED MOTION TO DISMISS FOR LACK OF JURISDICTION
                                 CASE NO. 2:23-CR-00599-MCS-1
 1          In short, none of the statutory authority identified by the Attorney General’s
 2   appointment of the Special Counsel authorizes the appointment of anyone to the role
 3   of Special Counsel. Because Congress did not create such a position, it cannot be filled
 4   by the Attorney General.
 5   II.    THE INDICTMENT WAS BROUGHT IN VIOLATION OF THE
 6          APPROPRIATIONS CLAUSE
 7          Mr. Biden previously challenged the Special Counsel’s reliance on an
 8   appropriation for “independent counsel” because he is not “independent” of the U.S.
 9   government (D.E.62), but Judge Cannon found that Special Counsel Smith was
10   ineligible to use this appropriation for a different reason: there was no statutory
11   authority for his appointment as Special Counsel. Trump, 2024 WL 3404555, at *43.
12   The same is true of Special Counsel Weiss, as explained above, which compels the
13   same result here. Moreover, Special Counsel Weiss’ additional flaw of not being
14   eligible because he is not “independent” deprives him of a valid appropriation.
15   III.   THIS MOTION IS TIMELY
16          “A motion that the court lacks jurisdiction may be made at any time while the
17   case is pending” under Rule 12(b)(2) and that certainly is true when an indictment is
18   brought by an unauthorized prosecutor. Trump, 2024 WL 3404555, at *45-46; see
19   United States v. Durham, 941 F.2d 886, 892 (9th Cir. 1991) (reversing district court’s
20   denial of defendant’s mid-trial motion challenging a Special Assistant U.S. Attorney
21   authority as untimely because the motion went to the court’s jurisdiction and could be
22   filed at any time). In Hatch v. United States, the Ninth Circuit reversed a district court
23   for denying a post-trial motion to dismiss for lack of jurisdiction as untimely, holding
24   the motion should be granted and that under Rule 12(b)(2) the defendant “did not raise
25   this defense too late.” 919 F.3d 1394, 1398 (9th Cir. 1990). In doing so, the Ninth
26   Circuit noted it previously allowed such a defense to be raised for the first time in
27   seeking a panel rehearing. Id. at 1397 (citing Hotch v. United States, 212 F.2d 280 (9th
28
                                                 9
      DEFENDANT’S NOTICE OF MOTION AND AMENDED MOTION TO DISMISS FOR LACK OF JURISDICTION
                                 CASE NO. 2:23-CR-00599-MCS-1
 1   Cir. 1954)), where the Ninth Circuit initially affirmed a conviction but then reversed
 2   based on a new jurisdictional argument raised in seeking rehearing); see also United
 3   States v. Lee, 1992 WL 144716, at *2 (9th Cir. June 25, 1992) (vacating conviction
 4   based on a jurisdictional argument first raised on appeal); United States v. Arbo, 691
 5   F.2d 862, 865 (9th Cir. 1982) (allowing jurisdictional defense to be raised for the first
 6   time on appeal); United States v. Heath, 509 F.2d 16, 19 (9th Cir. 1974) (same).
 7         This motion is timely under Rule 12(b)(2) and there is good cause for Mr. Biden
 8   to pursue this motion under Federal Rule of Criminal Procedure 12(c)(3), where the
 9   defects raised here were only recently addressed by Justice Thomas on July 1, 2024 and
10   by Judge Cannon just this week. Few cases are ever brought by a Special Counsel or
11   similarly appointed Special Prosecutors, and this defect has long eluded other litigants.
12   See Trump, 144 S. Ct. at 2351 (Thomas, J., concurring) (explaining the issue was not
13   raised in United States v. Nixon, 418 U.S. 683 (1974)); Trump, 2024 WL 3404555, at
14   *27 (same). Now that the defect has been recognized and used to invalidate an
15   indictment brought by the Special Counsel against former President Trump, the
16   equivalent result should be available to Mr. Biden. Different defendants but same
17   constitutional flaws.
18                                      CONCLUSION
19         The Court should dismiss the indictment.
20   Dated: July 28, 2024                    Respectfully submitted,
21
22                                           /s/ Mark J. Geragos
                                             Mark J. Geragos (SBN 108325)
23                                           Tina Glandian (SBN 251614)
24                                           Setara Qassim (SBN 283552)
                                             GERAGOS & GERAGOS APC
25                                           Los Angeles, CA 90017-3411
26                                           Telephone: (213) 625-3900
                                             Facsimile: (213) 232-3255
27
                                              /s/ Angela M. Machala
28
                                                10
      DEFENDANT’S NOTICE OF MOTION AND AMENDED MOTION TO DISMISS FOR LACK OF JURISDICTION
                                 CASE NO. 2:23-CR-00599-MCS-1
 1                                         Angela M. Machala (SBN: 224496)
 2                                         AMachala@winston.com
                                           WINSTON & STRAWN LLP
 3                                         333 S. Grand Avenue, 38th Fl.
 4                                         Los Angeles, CA 90071-1543
                                           Telephone: (213) 615-1700
 5                                         Facsimile: (213) 615-1750
 6
                                           Abbe David Lowell (admitted pro hac vice)
 7                                         AbbeLowellPublicOutreach@winston.com
 8                                         Christopher D. Man
                                           CMan@winston.com
 9                                         WINSTON & STRAWN LLP
10                                         1901 L Street NW
                                           Washington, DC 20036
11                                         Telephone: (202) 282-5000
12                                         Facsimile: (202) 282-5100
13                                         Counsel for Robert Hunter Biden
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             11
     DEFENDANT’S NOTICE OF MOTION AND AMENDED MOTION TO DISMISS FOR LACK OF JURISDICTION
                                CASE NO. 2:23-CR-00599-MCS-1
 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on July 28, 2024, I filed the foregoing Amended Motion with
 3
     the Clerk of Court using the CM/ECF system, which will send a notification of such
 4
 5   filing to all counsel of record.

 6                                                  /s/ Mark J. Geragos
 7                                                  Mark J. Geragos
 8                                                  Counsel for Robert Hunter Biden
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               12
      DEFENDANT’S NOTICE OF MOTION AND AMENDED MOTION TO DISMISS FOR LACK OF JURISDICTION
                                 CASE NO. 2:23-CR-00599-MCS-1
